Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page1of32 Page |ID#11

Exhibit A
Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 2 of 32 Page ID #:12

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Suparior Court of Calilornta

Ounly of Log Angeles

PAG@Kriegerlaw.com MAR Ig 2016
KRIEGER & KRIEGER, A Law Corporation Sherti R. Carter, Executive Of

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Attorneys for Plaintiff
BRIDGET KORNS | Deas b
SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES - CENTRAL DISTRICT

BRIDGET KORNS, an individual, ) Case No.:
)
Plaintiff, ) BC 6138 4 1
) . COMPLAINT FOR DAMAGES
v. yd.

) 1. Disability Discrimination in Violation of
HERTZ LOCAL EDITION CORP.; ) FEHA (Gov’t. Code § 12940 (a));
LAKEISHA CARTER, an individual; DEREK ) 2. Harassment Based on Pregnancy and/or
JUDEN, an individual; and DOES 1 ~ 100, ) °. Disability in Violation of FEHA (Gov't.
inclusive; ) Code § 12940(j));

3. Pregnancy Discrimination in Violation of
Defendants. Gov't. Code §§ 12940(a) and 12945.
_)

4. Discrimination in Violation of FALA
29 U.S.C. § 2615 and California Family
Rights Act;
5. Failure to Prevent Discrimination (Gov’t.
Code § 12940 (k));
6. Failure to Accommodate Disability
7

(Gov't. Code § 12940 (m));
Failure to Engage in the Interactive
Process (Gov’t. Code § 12940 (n));

8. Wrongful Termination in Violation of
Public Policy; and

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9, Intentional Infliction of imp fottal ms
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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 3o0f32 Page ID #13

VENUE AND PARTIES

1. Plaintiff BRIDGET KORNS (hereinafter “Plaintiff’) at all times relevant hereto
was a resident of the city of Los Angeles in Los Angeles County, California.

2, Plaintiff is informed and believes and thereon alleges that Defendant HERTZ
LOCAL EDITION CORP., (hereinafter “Defendant Hertz’’) is and at all times relevant hereto was a
Delaware corporation doing business in Los Angeles County, Califormia.

3. Plaintiff is informed and believes and thereon alleges that Defendant Lakeisha
Carter, (hereinafter “Defendant Carter”) is and at all times relevant hereto was an individual
residing in and employed in Los Angeles County, California.

4. Plaintiff is informed and believes and thereon alleges that Defendant Derek Juden,
(hereinafter “Defendant Juden”) is and at all times ~elevant hereto was an individual residing in and
employed in Los Angeles County, Califomia.

5. The true names and capacities, whether corporate, individual, associate or
otherwise, of Defendants designated herein as Does ] — 100, inclusive, are unknown to Plaintiff,
who therefore sues such Defendants by such fictitious names. Plaintiff will amend this Complaint to
allege their true names and capacities when the same have been ascertained.

6. Plaintiff is informed and believes and thereon alleges that each of said Defendants
is in some manner intentionally, negligently, or otherwise responsible for the acts, occurrences and
transactions alleged herein,

7, Plaintiff is informed and believes and thereon alleges that in performing the
unlawful acts alleged herein, each Defendant was the agent, employee and representative of each of
the remaining Defendants, and in doing the unlawful things alleged was acting within the course,
purpose, scope and authority of such agency, employment or representation.

8. Venue is properly laid in this Court inasmuch as the acts upon which Plaintiff sues
herein occurred within the County of Los Angeles; Plaintiff was injured in the County of Los

Angeles; and Defendants do business in the County of Los Angeles in the State of California.

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 4of32 Page ID#14

9, Whenever and wherever reference is made in this Complaint to any act by a

Defendant or Defendants, such allegations and references shall also be deemed to be the acts and

failures of each Defendant acting individually, jointly and severally,

GENERAL ALLEGATIONS

10. Plaintiff was employed by Defendant Hertz from August 2011 until through
December 1, 2014, first as a Rental Agent in the Woodland Hills office, and later as Assistant
Branch Manager in the West Covina office.

11. Defendant is a global car rental company doing business in Los Angeles County,
California,

12. Plaintiff learned she was pregnant during her employment with Defendants, and
found out that she had a condition known as a detached uterus, resulting in a high-risk pregnancy.

13. Defendant Hertz had a culture of discouraging maternity leave, and trained its
managers, including Plaintiff, to discourage employees from taking maternity leave “at all costs.”
Defendant Hertz also told Plaintiff, as part of her management training, “We don’t want pregnant
employees at our branch,” and that certain employees who had taken maternity leave would not be
promoted or were “not coming back.” These harassing comments made Plaintiff wary about taking
pregnancy leave.

14. Plaintiff informed her Branch Manager, Defendant Derek Juden, that she was
pregnant, and that her detached uterus made it a high-risk pregnancy, Plaintiff requested
accommodations in the form of back office paperwork assignments where she could sit down, as
opposed to the front office assignments that involved almost constant standing, walking and
stooping, along with the responsibility of manually opening a non-functioning heavy metal gate
outside the facility. Mr. Juden refused to grant this accommodation.

15. Plaintiff required bed rest because of her pregnancy complications on multiple
occasions, and used sick and vacation time during those periods. Hertz harassed Plaintiff and
retaliated against her for taking this time off by writing her up for decreased sales numbers, Another

salesperson with similar sales numbers was not written up.

-3-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 5of32 Page |ID#15

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16. Plaintiff experienced a sharp, shooting pain in her lower spine in February 2014,
and was taken to the emergency room and diagnosed with an inflamed sciatic nerve. Her OBGYN
wrote her a note on February 19, 2014 modifying her duties to restrict pushing, pulling, or lifting
over 15 lbs., and limiting standing, walking, stooping, and bending. The note also stated Plaintiff
should “not be on her feet more than two hours without a sitting break.”

. 17, Plaintiff presented this note to Mr. Juden and asked that she be accommodated by
scheduling her with another employee who was not also pregnant. Instead of accommodating her,
Mr. Juden further harassed Plaintiff by forcing her to continue working with only one other
associate, who was also pregnant, resulting in a physically stressful and medically dangerous
environment with no assistance from Hertz management.

18. During this time, Plaintiff suffered another sciatic episode, requiring an emergency
room visit and a three-week medical leave.

19. Plaintiff was written up again for decreased sales numbers in March 2014. Again,
no.other employee was written up, despite having similar numbers.

20. _ Plaintiff suffered harassment at the hands of co-workers because of her disability.
People made comments to the effect that she only needed accommodations because she was “being
lazy,” and not because of her pregnancy. Plaintiff reported the harassment to Mr. Juden, who did not
take any action to prevent further harassment.

21. On March 26, 2014, while at work, Plaintiff discharged amniotic fluid and required
medical attention to check on her health as well as the health of her baby. Plaintiff's branch was
short-staffed that day, and Plaintiff told Mr. Juden that she needed to go to the hospital immediately.
Mr. Juden merely told her to “sit down” and did not offer assistance or permission to seek medical
attention. Plaintiff's husband picked her up and took her to the hospital, where she was diagnosed
with an open cervix and immediately admitted. Plaintiff informed Mr. Juden of this, and he curtly

responded only “‘tell Lakeisha,”

22. After two days of attempts by doctors to save her pregnancy, on March 28, 2014,
Plaintiff went into pre-term labor and delivered. She was only twenty weeks pregnant. Although

doctors attempted procedures to save the life of her baby, who was named Lillith, the child passed

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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 6 of32 Page ID #:16

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away the same day. Doctors informed Plaintiff that two more weeks may have given the child a
chance at survival.

23. After returning home, Plaintiff found out she had a blood clot and had to return to
the hospital, where she was diagnosed with gallbladder issues and underwent surgery to have her
gallbladder removed.

24. Plaintiff's doctors took her off work for depression, anxiety, and post-traumatic
stress syndrome for several months. She attempted to reach several individuals in Hertz
management to inform them of her loss and her medical condition, and to inquire about medical and
bereavement leave. Hertz did not respond to Plaintiff's first several attempts at contact. Finally Area
Manager, Peter Beckner, Mr. Juden’s supervisor, responded and told Plaintiff that he had been
unaware of her situation until then, indicating that upper management was never informed of her
previous requests for accommodation.

25. Mr. Juden further harassed Plaintiff by scolding her for contacting Mr. Beckner
rather than awaiting a response from him. This was Mr. Juden’s first communication with Plaintiff
after he learned of her daughter's death, which negatively impacted Plaintiff's mental and emotional
State.

26. Defendant Carter, Manager of the Human Resources Department, eventually
provided Plaintiff with FMLA forms, but refused to offer any guidance or assistance with their
completion, and refused to provide information about whether they had been properly completed,
causing further stress to Plaintiff.

27, On May 5, 2014, Plaintiff wrote a complaint letter to Ms. Carter and Tracy Kersey.
She complained of discrimination and of Hertz’s failure to accommodate her pregnancy-related
medical restrictions. Plaintiff described her medical situation in detail, as well as the death of her
child. The letter also addressed the negative discriminatory treatment and comments she endured

from Mr. Juden and other coworkers. She asked that Hertz investigate and “put an end to this

discrimination and failure to accommodate.” Plaintiff also asked to be transferred to the Fontana

branch of Hertz so she could work under different management.

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 7 of 32 Page ID #:17

28. Ms. Carter responded via email on May 9, 2014, stating that she would begin an

2 || investigation into Plaintiff's complaints. On May 19, 2014, despite never interviewing Plaintiff, Ms.
3 | Carter informed Plaintiff via email that her complaints were found to have been “unsubstantiated.”
4| Ms. Carter did acknowledge some harassing comments had been made, but defended them by
5 || stating they had been made in a “joking manner.” Plaintiff was told she was expected to return to’
6 | work on June 20, 2014, when her FMLA/CFRA expired.
7 29, Plaintiffs psychiatrist placed her off work through December 2014, through a series
8 || of notes which Plaintiff timely provided to Hertz.
9 30. On December 22, 2014, Ms. Carter emailed Plaintiff and abruptly terminated her
10} employment, retroactive to December 1, 2014. The stated reason was that Hertz could “no longer
11 || accommodate [Plaintiffs] continued absence.” In the same letter, Ms. Carter acknowledged that
12 || Plaintiff's doctors believed she would return to work by the end of the month.
13 31. Asaresult of Defendants’ actions described in this Complaint, Plaintiff has suffered
14 || financial damages and emotional distress including depression, stress, anxiety, frequent panic
15 || attacks, and other symptoms for which she has sought medical treatment and for which she may
16) need ongoing treatment in the future.
17 32. Plaintiff filed a timely complaint of discrimination, harassment, retaliation, and
18 | other claims, against Defendants Hertz and Carter with the Califomia Department of Fair
19 || Employment and Housing (hereinafter “DFEH”) and received a notice dated March 19, 2015 of the
20 | mght to sue in a California Superior Court pursuant to Cal. Gov’t. Code § 12965(b). A true and
21} correct copy of such complaint of discrimination and notice of right to sue letter against Defendants
22 || is attached hereto and marked as Exhibit “A” and is incorporated herein by reference as though fully
23 | set forth at length.
24 33. Plaintiff has exhausted all of her administrative remedies under state law with
25 |; regard to discrimination, harassment, and retaliation on the basis of disability, pregnancy and
26 || gender.
27 |,“
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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 8 of 32 Page ID#:18

FIRST CAUSE OF ACTION

(Disability Discrimination in Violation of FEHA (Gov’t. Code § 12940(a)) -
Against Defendant Hertz and Does 1-100)

34. The allegations of paragraphs 1 through 33 are realleged and incorporated herein
by reference.

35. Plaintiff was at all times material hereto an employee covered by Cal. Gov’t. Code
§ 12940 prohibiting discrimination in employment on the basis of physical disability.

36. Plaintiff is a female who was physically disabled during the relevant period of time
to which this complaint pertains.

37. Defendant Hertz is and was at all times material hereto an employer within the
meaning of Cal. Gov’t. Code §12926(c) and, as such, is barred from discriminating in employment
decisions on the basis of physical disability as set forth in Cal. Gov’t. Code § 12940.

38. From October 2013 until Plaintiff's termination, Defendant Hertz engaged in the
following actions: disparate treatment of Plaintiff, discrimination in terms, conditions, and/or
privileges of employment; refusal to provide Plaintiff with a modified work schedule; refusal to
accommodate Plaintiff by keeping her job open until she was able to return to work or providing her
with a comparable job once she was cleared by her physician to return to work; and discharging
Plaintiff from her employment, all as a result of her physical disabilities caused by her pregnancy.
The above conduct constituted unlawful discrimination against Plaintiff on the account of Plaintiff's
physical disability in violation of Gov't, Code § 12940(a).

39. None of the discriminatory conduct of Defendant Hertz, as alleged above, was
based upon a bona fide occupational qualification.

40, As a direct, foreseeable and legal result of Defendant Hertz’s discrimination
against Plaintiff, Plaintiff has suffered and continues to suffer losses incurred in seeking substitute

employment and in eamings, bonuses, and other employment benefits, and has suffered and

continues to suffer substantial embarrassment, extreme and severe humiliation, mental anguish, and |

emotional distress, plus physical injuries, pain and suffering, all to her damage in an amount

according to proof. Furthermore, Plaintiff has incurred and/or will incur medical expenses for

-7-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 9of32 Page ID #:19

treatment by health professionals and for other incidental expenses. Plaintiff thereby is entitled to
general and compensatory damages in amounts to be proven at trial.

41. Atall times herein, the aforementioned acts of oppression, fraud or malice were
authorized and/or ratified, with advance knowledge and conscious disregard, by Defendant Hertz.
Consequently, Plaintiff is entitled to punitive damages against Defendant Hertz.

42. As aresult of Defendant Hertz’s discriminatory acts as alleged herein, Plaintiff is

entitled to reasonable attorneys’ fees and costs of suit as provided by Cal. Gov't. Code § 12965(b).

SECOND CAUSE OF ACTION

(Harassment Based on Pregnancy and/or Disability (Cal. Gov't. Code § 12940(j)) -
Against Defendants Hertz, Carter and Does 1-100)

43. The allegations of Paragraphs 1 through 42 are realleged and incorporated herein
by reference.

44, Commencing in or about October 2013, and continuing throughout the remainder
of her employment, Defendants, including Defendant Carter, harassed Plaintiff based on her
pregnancy and/or disability by making repeated rude and inappropriate comments about Plaintiff's
pregnancy, writing her up in relation to her sales numbers affected by pregnancy, and refusing to
acknowledge or accommodate her requests for assistance. Defendants, including Defendant Carter,
condoned the acts of their employees by allowing the remarks to have been made, allowing the
write-ups to occur, and by failing to investigate and remedy these actions. Defendants have also
retaliated against Plaintiff for complaining about this harassment and discrimination.

45. Plaintiffis informed and believes and thereon alleges that Defendants have been
and are currently aware of various instances of harassment and discrimination on the basis of
pregnancy and/or disability throughout locations operated by Defendants, all of which were well
known to Defendants before Plaintiff was harassed based on her pregnancy and/or disability. Such
conduct was sufficiently pervasive and severe as to alter the conditions of employment and created
an intimidating and hostile work environment. Accordingly, Defendants’ conduct constitutes illegal

harassment in violation of Cal. Gov't. Code § 12940(j).

-8-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 10 of 32 Page ID #:20

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46. Defendants, and each of them, are liable for the harassment of Plaintiff, because
they were aware of the illegal harassment of Plaintiff by other employees and failed to take
immediate and appropriate corrective action. Such conduct violates Cal Gov't. Code §§ 12940q)
and (k).

47. Asa direct, foreseeable and legal result of Defendants’ harassment against
Plaintiff, Plaintiff has suffered and continues to suffer substantial losses and has suffered and
continues to suffer substantial embarrassment, extreme and severe humiliation, mental anguish, and
emotional distress, plus physical injuries, pain and suffering, all to her damage in an amount
according to proof. Furthermore, Plaintiff has incurred and/or will incur medical expenses for
treatment by health professionals and for other incidental expenses. Plaintiff thereby is entitled to
general and compensatory damages in amounts to be proven at trial.

48. The Defendants committed the acts alleged herein maliciously, fraudulently and
oppressively with the wrongful intention of injuring the Plaintiff, and/or in reckless disregard of
Plaintiff's rights or with a conscious disregard for Plaintiff's rights and for the deleterious
consequences of the Defendants’ actions. Defendants, through their officers, managing agents
and/or supervisors and employees authorized, condoned and ratified the unlawful conduct of all of
the other Defendants named in this action. Consequently, Plaintiff is therefore entitled to recover
punitive damages from all Defendants in an amount according to proof. .

49. As aresult of the Defendants’ harassing acts as alleged herein, Plaintiff is entitled

to reasonable attomeys’ fees and costs of suit as provided by Cal. Gov’t. Code § 12965(b).

THIRD CAUSE OF ACTION

(Pregnancy Discrimination in Violation of Gov’t. Code §§ 12940(a) and 12945 —
Against Defendant Hertz and Does 1-100)

50. The allegations of Paragraphs 1 through 49 are realleged and incorporated herein

by reference.

51, Plaintiff was at all times material hereto a female employee covered by Cal. Gov’t.

Code §§ 12940 and 12945 prohibiting discrimination in employment on the basis of pregnancy.

-9.

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 11o0f32 Page ID#:21

52. Defendant Hertz was at all times material hereto an employer within the meaning
of Gov’t. Code § 12926(d) and, as such, is barred from discriminating in employment decisions on
the basis of pregnancy as set forth in Gov't. Code §§ 12940 and 12945,

53. The conduct of Defendant Hertz, as alleged above, constitutes unlawful pregnancy
discnmination under Gov’t. Code §§ 12940 and 12945 in that Plaintiff was subjected to adverse
treatment, denied equal treatment, denied job benefits and opportunities, otherwise discriminated
against and ultimately terminated on account of her pregnancy.

54. None of the discriminatory conduct of Defendant Hertz, as alleged above, was
based upon a bona fide occupational qualification.

55. Asa direct, foreseeable and legal result of Defendant Hertz’s discrimination
against Plaintiff, Plaintiff has suffered and continues to suffer substantial losses incurred in seeking
substitute employment and in earnings, bonuses, and other employment benefits, and has suffered
and continues to suffer substantial embarrassment, extreme and severe humiliation, mental anguish,
and emotional distress, all to her damage in an amount according to proof. Furthermore, Plaintiff
has incurred and/or will incur medical expenses for treatment by psychotherapists and/or other
health professionals and for other incidental expenses.

56. | Defendant Hertz committed the acts alleged herein maliciously, fraudulently and
oppressively with the wrongful intention of injuring Plaintiff, from a willful improper motive
amounting to malice, and in conscious disregard of Plaintiff’s nghts and for the deleterious
consequences of the Defendant Hertz actions. Plaintiff is thus entitled to recover punitive damages
from Defendants in an amount according to proof.

57. As a result of Defendant Hertz discriminatory acts as alleged herein, Plaintiff is
entitled to reasonable attomeys’ fees and costs of suit as provided by Gov’t. Code § 12965(b).

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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 12 of 32 Page ID #:22

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FOURTH CAUSE OF ACTION
(Discrimination in Violation of FMLA 29 USC § 2615 and California Family Rights Act -
Against Defendant Hertz and Does 1-100)

58. The allegations of Paragraphs | through 57 are realleged and incorporated herein
by reference. ,

59. Plaintiff is an employee covered under Family and Medical Leave Act 29 U.S.C.
§ 2611(2) and the provisions of the California Family Rights Act codified under FEHA.

60. | Defendant Hertz is an employer as defined under Family and Medical Leave Act
29 U.S.C. § 2611(4) and Cal. Gov’t. Code § 12926(d).

61. Defendant Hertz and Does 1 ~ 100 and/or their agents/employees discriminated
against Plaintiff and interfered with Plaintiff's exercise of nights under the FMLA 29 U.S.C.

§ 2615(a). Specifically, Defendant Hertz terminated Plaintiff during or shortly after her approved
medical leave, in retaliation for exercising her rights under the FMLA and CFRA. This failure was
the result of Defendant Hertz’s retaliation against Plaintiff for taking legally protected medical
leave.

62. Furthermore, Defendant Hertz violated the Califomia Family Rights Act by
terminating Plaintiff due to Plaintiff exercising her legal rights under the CFRA.

63. Asa legal and foreseeable result of Defendant Hertz’s conduct, Plaintiff has
suffered and continues to suffer general and special damages and lost wages in an amount according
to proof.

64. The conduct of Defendant Hertz and/or its agents/employees as described herein
was willful, malicious, oppressive, and done with a willful and conscious disregard for Plaintiff's
nghts and for the deleterious consequences of Defendant Hertz’s actions. Defendant Hertz and/or
their agents/employees or supervisors authorized, condoned, and ratified the unlawful conduct of

each other.

65, At all times herein, the aforementioned acts of oppression, fraud or malice were
authorized and/or ratified, with advance knowledge and conscious disregard, by Defendant Hertz.

Consequently, Plaintiff is entitled to punitive damages against Defendant Hertz.

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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 13 o0f 32 Page ID#:23

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66. Plaintiff seeks relief under FMLA 29 USC § 2617 and Cal. Gov’t. Code
§ 12965(b) for damages in the amount of wages, salary, employment benefits, and other
compensation denied or lost to Plaintiff by reason of Defendant Hertz’s violation of the FMLA, in
an amount according to proof. Plaintiff also seeks attorneys’ fees and costs of suit, interest on the
amount above, as well as liquidated damages equal to the amount above and other equitable relief as
may be appropriate, including employment, reinstatement, and promotion, pursuant to FMLA 29
USC § 2617 and Cal. Gov’t. Code § 12965(b). This cause of action is properly before this court per
FMLA 29 USC § 2617(a)(2) and the provisions of the California Family Rights Act codified under

FEHA.
FIFTH CAUSE OF ACTION
(Failure To Prevent Discrimination (Gov't. Code § 12940(k)) -
Against Defendant Hertz and Does 1-100)
67. The allegations of Paragraphs | through 66 are realleged and incorporated herein
by reference. .

68. At all times herein material, Defendant Hertz and/or its agents/employees, knew or
reasonably should have known that the conduct alleged herein would and did proximately cause the
physical and emotional distress to Plaintiff as alleged above.

69. At all times herein material, Defendant Hertz and/or its agents/employees, had the
power, ability, authority and duty to cease the conduct alleged above and to intervene to prevent or ,
prohibit such conduct.

70. In violation of Gov’t. Cade § 12940(k), Defendant Hertz and/or its agents/
employees, failed to take all reasonable steps necessary to prevent the above-alleged discrimination
from occurring.

71, As a direct, foreseeable and legal result of Defendant Hertz’s actions against

Plaintiff, Plaintiff has suffered and continues to suffer substantial losses in income, health benefits,

sick and vacation time, retirement benefits, life insurance benefits and other employment related

benefits, and has suffered and continues to suffer mental anguish, and emotional distress, plus

-12-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 14 of 32 Page ID #:24

physical injuries, pain and suffering, all to her damage in an amount according to proof.
Furthermore, Plaintiff has incurred and/or will incur medical expenses for treatment by health
professionals and for other incidental expenses. Plaintiff thereby is entitled to general and
compensatory damages in amounts to be proven at trial.

72, Defendant Hertz and Does 1 — 100 committed the acts alleged herein maliciously,
oppressively and with the wrongful intention of injuring Plaintiff, from a willful improper motive
amounting to malice, and in conscious disregard of Plaintiff's rights and for the deleterious
consequences of Defendant Hertz’s actions. Defendant Hertz and Does | — 100, through their
officers, managing agents and/or supervisors, authorized, condoned and ratified the unlawful
conduct. Plaintiff is thus entitled to recover punitive damages from Defendant Hertz and Does 1 —
100 in an amount according to proof.

73.  Asaresult of Defendant Hertz’s discriminatory and unlawful acts as alleged
herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of suit as provided by Cal. Gov’t.

Code § 12965(b).

SIXTH CAUSE OF ACTION

(Failure to Aé¢commodate Disability (Gov’t. Code § 12940(m)) -
Against Defendant Hertz and Does 1-100)

74, The allegations of Paragraphs 1 through 73 are realleged and incorporated herein
by reference.

75. Plaintiff had a physica! disability caused by her pregnancy and related
complications which interfered with her ability to work, walk, or stand for long periods of time. ~

76, From approximately October 2013, until the termination of her employment,
Defendant Hertz refused to reasonably accommodate Plaintiff's needs based on her physical

disability in the following manner: Defendant Hertz cid not engage in any interactive process with

Plaintiff during the course of her medical issues, and there was no attempt by Defendant Hertz to

keep her position open long enough for Plaintiff to be able to return to her job.

-13-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 15o0f32 Page ID#:25

77, At all times mentioned herein, Plaintiff was willing and able to perform the duties
and functions of her position if such reasonable accommodation had been made by Defendant
Hertz. At no time would the performance of the functions of the employment position, with a
reasonable accommodation for Plaintiff's physical disability, have been a danger to Plaintiffs or
any other person’s health or safety.

78. Accommodation of Plaintiff's needs based on her physical disability would not
have imposed an undue hardship on Defendant Hertz.

79, Defendant Hertz’s actions, as alleged above, constituted failure to reasonably
accommodate a physical disability, in violation of Gov’t, Code § 12940(m).

80. As a direct, foreseeable and legal result of Defendant Hertz’s actions, Plaintiff has
suffered and will continue to suffer losses incurred in seeking substitute employment and in
earnings, bonuses, and other employment benefits, and has suffered and continues to suffer
substantial embarrassment, extreme and severe humiliation, mental anguish, and emotional distress,
plus physical injuries, pain and suffering, all to her damage in an amount according to proof.
Furthermore, Plaintiff has incurred and/or will incur medical expenses for treatment by health
professionals and for other incidental expenses. Plaintiff is thereby entitled to general and
compensatory damages in amounts to be proven at trial.

81. Defendant Hertz and Does 1 — 100 committed the acts alleged herein maliciously,
oppressively and with the wrongful intention of injuring Plaintiff, from a willful improper motive
amounting to malice, and in conscious disregard of Plaintiff's rights and for the deleterious
consequences of Defendant Hertz’s actions. Defendant Hertz and Does 1 — 100, through their
officers, managing agents and/or supervisors, authorized, condoned and ratified the unlawful
conduct. Plaintiff is thus entitled to recover punitive damages from Defendant Hertz and Does 1 —
100 in an amount according to proof.

82. As aresult of Defendant Hertz’s discriminatory and unlawful acts as alleged

herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of suit as provided by Cal. Gov’t.

Code § 12965(b).

-14-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 16 of 32 Page ID #:26

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SEVENTH CAUSE OF ACTION
(Failure to Engage in the Interactive Process (Gov’t. Code § 12940(n)) -
Against Defendant Hertz and Does 1-100)

83. The allegations of Paragraphs | through 82 are realleged and incorporated herein
by reference.

84. Plaintiffhas a physical disability caused by her pregnancy and related
complications which interfered with her ability to work, as well as to walk and stand for long
periods of time.

85. From approximately October 2013 onward, Defendant Hertz failed to engage in a
timely, good faith, interactive process with Plaintiff to determine effective reasonable
accommodations in response to Plaintiff's request for reasonable accommodations for her disability -
in the following manner: Defendant Hertz did not engage in any interactive process with Plaintiff
during the course of her medical issues, and there was no attempt by Defendant Hertz to keep her
position open long enough for Plaintiff to be able to return to her job.

86. At all times mentioned herein, Defendant Hertz was aware of Plaintiff's disability
and could have provided reasonable accommodations to Plaintiff had Defendant Hertz engaged in
the interactive process. Further, at all times mentioned herein, Plaintiff was willing and able to
perform the duties and functions of her position if such reasonable accommodation had been made
by Defendant hertz. At no time would the performance of the functions of the employment position,
with a reasonable accommodation for Plaintiff's physical disability, have been a danger to
Plaintiff’s or any other person’s health or safety.

87. | Accommodation of Plaintiff's needs based on her physical disability would not
have imposed an undue hardship on Defendant Hertz.

88. Defendant Hertz’s actions, as alleged above, constituted failure to engage in the
interactive process, in violation of Gov’t. Code § 12940(n).

89, Asa direct, foreseeable and legal result of Defendant Hertz’s actions against
Plaintiff, Plaintiff has suffered and continues to suffer substantial losses in lost income; lost sick

and vacation time; and other employment related benefits, and has suffered and continues to suffer

-15-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 17 of 32 Page ID #:27

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mental anguish, and emotional distress, plus physical injuries, pain and suffering, all to her damage
in an amount according to proof. Furthermore, Plaintiff has incurred and/or will incur medical
expenses for treatment by health professionals and for other incidental expenses. Plaintiff thereby is
entitled to general and compensatory damages in amounts to be proven at trial,

90, Defendant Hertz and Does 1 — 100 committed the acts alleged herein maliciously,
oppressively and with the wrongful intention of injuring Plaintiff, from a willful improper motive
amounting to malice, and in conscious disregard of Plaintiff's rights and for the deleterious
consequences of Defendant Hertz’s actions. Defendant and Does 1 — 100, through their officers,
managing agents and/or supervisors, authorized, condoned and ratified the unlawful conduct.
Plaintiff is thus entitled to recover punitive damages from Defendant Hertz and Does 1 — 100 in an
amount according to proof.

91, As aresult of Defendant Hertz’s discriminatory and unlawful acts as alleged
herein, Plaintiff is entitled to reasonable attorneys’ fees and costs of suit as provided by Cal. Gov’t.

Code § 12965(b).

EIGHTH CAUSE OF ACTION

(Wrongful Termination in Violation of Public Policy -
Against Defendant Hertz and Does 1-100)

92. The allegations of Paragraphs ] through 91 are realleged and incorporated herein
by reference.

93. Defendant Hertz terminated Plaintiff in violation of the public policies of the State
of California prohibiting retaliation against employees by terminating her for exercising her right to
FMLA/CFRA leave. Moreover, Defendant Hertz terminated Plaintiff due to her physical disability
relating to her pregnancy. These policies are expressed, in part, in the California Fair Employment

and Housing Act, Cal. Gov’t. Code §§ 12900 et seq.; the California Constitution, Article 1, Section

8; other California statutes, and decisions of the California judiciary.
94. As a direct’and proximate result of Defendant Hertz’s actions, Plaintiff has

suffered and will continue to suffer physical injuries, pain and suffering, and extreme and severe

-16-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 18 of 32 Page ID #:28

mental anguish and emotional distress and has incurred and will continue to incur medical expenses

2 || for treatment by health professionals and for other incidental expenses. Plaintiff has suffered and
3 |] continues to suffer substantial losses incurred in seeking substitute employment and in earnings,
4! bonuses, and other employment benefits. Plaintiff is thereby entitled to general and compensatory
5 || damages in amounts to be proven at trial.
6. 95. Defendant Hertz’s conduct as described herein was malicious, fraudulent and
7 || oppressive, and done with a conscious disregard for Plaintiffs mghts and for the deleterious
8 } consequences of the Defendant Hertz's actions. Defendant Hertz, through its managing agents
9} and/or supervisors, authorized, condoned and ratified the unlawful conduct. Consequently, Plaintiff
10} is entitled to punitive damages from Defendant Hertz in an amount to be proven at trial.
11
12 NINTH CAUSE OF ACTION
13 (Intentional Infliction of Emotional Distress —
14 Against All Defendants)
15 96. The allegations of Paragraphs 1 through 95 are realleged and incorporated herein
16 || by reference.
17 97, Commencing in or about October 2013, and continuing throughout the remainder
18] of Plaintiff's employment, Defendants, including Defendants Carter and Juden, harassed Plaintiff
19 || based on her pregnancy and/or disability by making repeated rude and inappropriate comments
20 } about Plaintiff's pregnancy, writing her up in relation to her sales numbers affected by pregnancy,
21 | and refusing to acknowledge or accommodate her requests for assistance. Defendants, including
22 || Defendants Carter and Juden, condoned the acts of their employees by allowing the remarks to have
oo 23 | been made, allowing the write-ups to occur, and by failing to investigate and remedy these actions.
= 24 | Defendants also retaliated against Plaintiff for complaining about this harassment and
= 25} discrimination.
= 26 98. As described above, Defendants, including Defendants Carter and Juden, and/or
27 || their agents/employees engaged in outrageous conduct towards Plaintiff which went outside the
28 || employment relationship, with the intention to cause, or with reckless disregard for the probability

-17-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 19 of 32 Page ID #:29

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of causing, Plaintiff to suffer severe physical and emotional distress. To the extent that said
outrageous conduct was perpetrated by certain Defendants, the remaining Defendants confirmed and
ratified said conduct with the knowledge that Plaintiff's emotional and physical distress would
thereby increase, and with a wanton and reckless disregard for the deleterious consequences to
Plaintiff.

99. Defendants, and each of them, were aware and/or should have been aware of the
likelihood that Plaintiff would suffer severe emotional distress as a result of the above-described
outrageous conduct. The outrageous and shocking conduct of Defendants, and each of them, was
done intentionally and for the purpose of inflicting upon Plaintiff extreme and severe emotional
distress.

100. Asa direct, legal, and foreseeable result of the wrongful acts of Defendants,
Plaintiff has been harmed in that Plaintiff has suffered and will continue to suffer fear, insomnia,
depression, anxiety, stress, panic attacks, loss of self-esteem, and other psychological ailments, for
which she has and will continue to incur medical expenses. Furthermore, Plaintiff has incurred
substantial losses incurred in finding substitute employment, lost income, earnings, deferred
compensation, and other employment benefits. Plaintiff is thereby entitled to general and
compensatory damages in amounts to be proven at trial.

101. The conduct of each of said Defendants and/or their agents/employees as described
herein was willful, malicious, oppressive, and done with a willful and conscious disregard for
Plaintiff's rights and for the deleterious consequences of Defendants’ actions. Defendants and each
of them and/or their agents/employees or supervisors authorized, condoned, and ratified the
unlawful conduct of each other.

102, At all times herein, the aforementioned acts of oppression, fraud or malice were
authorized and/or ratified, with advance knowledge and conscious disregard by Defendants.

Consequently, Plaintiff is entitled to punitive damages against each of said Defendants.

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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 20 of 32 Page ID #:30

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff requests the following judgment and-relief:

AS TO THE FIRST, SECOND, THIRD, FOURTH, FIFTH, SIXTH, AND SEVENTH
CAUSES OF ACTION:

1, For damages according to proof at the time of trial, including losses incurred in
seeking substitute employment; loss.of earnings, bonuses, deferred compensation, and other
employment benefits; lost future earnings; loss of seniority; lack of references; and other
consequential damages;

2. For interest on the amount of losses incurred in earnings, bonuses, deferred
compensation and other employment benefits at the prevailing legal rate;

3. For general and special damages according to proof at the time of trial;

4, For compensatory damages for losses resulting from humiliation, mental anguish,
and emotional distress according to proof;

5. For reasonable attomey's fees in an amount according to proof;

6. For exemplary and punitive damages in an amount to be determined at trial; |

AS TO THE EIGHTH AND NINTH CAUSES OF ACTION:
7. For general and special damages according to proof at the time of trial;
8. For compensatory damages for losses resulting from humiliation, mental anguish,
and emotional distress according to proof;

9. For exemplary and punitive damages in an amount to be determined at trial;

AS TO ALL CAUSES OF ACTION

10. For the costs of the suit herein incurred;

‘ll. For prejudgment interest according to law; and

12. For such other and further relief as this Court may deem just and proper.

-|9-

COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 21 0f 32 Page ID#:31

IND
4 PATRICK A. GANGIEANO

GER & KRIEGER ~
5 Law Corporation
‘ Attorneys for Plaintiff

RIDGEF-KORNS

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COMPLAINT FOR DAMAGES

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 22 of 32 Page ID #:32

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Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 23 of 32 Page ID #:33

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Age < our age>

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Other Disability

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Female

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Ms. Koms was terminated as a result S#ier pregnancy and related medical so She was hired by Hertz in August
2011, and informed her empioyer she was pregnant in or around October 2013. Hertz was aware that Ms. Koms had had
previous miscamages, and that her pregnancy was high+isk. Nevertheless, Hartz failed to reasonably accommodate her
pregnancy-elated medical restrictions, and failed to engage in the interactive process during her pregnancy. Hertz forced
Ms. Koms to perform duties beyond what her medical restrictions allowed, and her pregnancy ultimately was
compromised, resulting in pre-term labor at 20 weeks on March 26, 2014. The baby could not be saved, and passed
away on March 28, 2014. Ms. Koms then underwent another procedure for additional complications, and required
additional! time off. Again, Hertz failed to engage in the interactive process or grant reasonable accommodations. Hertz
ultimately terminated Ms. Koms on December 1, 2014, despite her doctors notifications that she should be cleared for
work at the end of December. Ms. Koms had been previously told by Hertz management that "We dont want pregnant
employees at our branch.”

aries

‘clude your details and everyone involved in this case. (max 15 Co-Respondents)

—~

3 Complainant

© The Complainant is the individual that is filing the complaint. Attomeys. this is your cent.

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AN Respondent

© mS Respendent is an indvidual o7 an enbty that you vésh to file a complaint against.

HentZ’Local Edition. Corp.

Lakeisha Carter

100 Employees

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Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 25 of 32 Page ID#:35

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Right to Sue

-or help filing, please call (800) 884-1684

ARE YOU FILING A REQUEST ON BEHALF OF ANOTHER PERSON? No

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AX Complainant's Representative i@less |

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Patnck Gangitano
5629012500 a Ext OO Cell | Home | Gis |
pag@kriegedaw.com oo -
249 E Ocean Givd Ste 750 Home Other
Lerg Beach 96802 California >

NHAT DATE C.D THE (20ST RECENT OR CONTINUING CISCRIUZNATION TAKE PLACE?

SCetg 2014-03-24

ALLEGE THAT | EXPERIENCED:

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RHO CORCAITTED THE SANE VIOLATION WERE NOT FIRED OR! BELIEVE | WAS SEXUALLY HARASSED (DISCRIMINATORY ACT] DUE TO MY SEX
PROTECTED BASIS] BECAUSE *2Y COWORKER MADE SEXUAL ADVANCES TOWARDS *7E.) REIAINING OF (4,000 CHARACTER LIT

Ms. Koms was terminated as a result of her pregnancy and related medical issues. She was hired by Hertz in August
2011, and informed he- employer she was pregnant in or around October 2013. Hertz was aware that Ms. Koms had had

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Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 26 of 32 Page ID #:36

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DEPARTMENT OF FaiR EMPLOYMENT & HousiNG DIRECTOR KEVIN KISH
2218 Kausen Orive, Sulte 100 } Elk Grove |CA 195758

BQ0-884-1684 | TDD 800-700-2920

wew.dleh.ca.gov | email: cantactcenter@dteh.ca.gov

March 19, 2015

Patrick Gangitano
249 E Ocean Blvd Ste 750
Long Beach California 90802

RE; Notice to Complainant or Complainant’s Attorney
DFEH Matter Number: 508398-150705
Right to Sue: Carter / Lakeisha Carter Hertz Local Edition Corp.

Dear Complainant or Complainant’s Attomey:

Attached is a copy of your complaint of discrimination fited with the Department of Fair
Employment and Housing (DFEH) pursuant to the California Fair Employment and Housing
Act, Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
Closure and Right to Sue. Pursuant to Government Code section 12962, DFEH will not serve —
these documents on the employer. You or your attormey must serve the complaint. [f you do not
have an attorney, you must serve the complaint yourself. Please refer to the attached Notice of
Case Closure and Right to Sue for information regarding filing a private lawsuit in the State of
California.

Be advised that the DFEH does not review or edit the complaint form to ensure that it meets
procedural or statutory requirements.

Sincerely,

Department of Fair Employment and Housing

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 27 of 32 Page ID #:37

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; DEPaR T OF FAIR EMPLOYMENT & HOUSING DIRECTOR KEVIN KISH

2218 Kausen Drive, Sufte 100 | Elk Grove | CAE 95758

800-884-1684 | TDD 800-700-2320

we. dfeh.ca.gov | email: conlad.center@ dfeh.ca,.gav

Agency

March 19, 2015
RE: Notice of Filing of Discrimination Complaint

DFEH Matter Number: 508398-150705
Right to Sue: Carter / Lakeisha Carter Hertz Local Edition Corp.

To All Respondent(s):

Enclosed is a copy of a complaint of discrimination that has been filed with the Department of
Fair Employment and Housing (DFEH) in accordance with Government Code section 12960.
This constitutes service of the complaint pursuant to Government Code section 12962. The
complainant has requested an authorization to file a lawsuit. This case is not being investigated
by DFEH and is being closed immediately. A copy of the Notice of Case Closure and Right to
Sue is enclosed for your records.

Please refer to the attached complaint for a list of all respondent(s) and their contact information.
No response te DFEH is requested or required.
Sincerely,

Department of Fair Employment and Housing

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 28 of 32 Page ID #:38

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WEL DEPARTMENT OF Fair EMPLOYMENT & HOUSING DIRECTOR KEVIN KISH
he 2218 Kausen Drive, Sulte-100 { Elk Grove {CA {95758

Seer gy? = 900-8B4.1684 | TOD 800-700-2320

MA) oo eae ee wea. dteh.ca.gov | email: contact.center @dfeh.ca gov

March 19, 2015

Lakeisha Carter
2144 East Garvey South
West Covina California 91791

RE: Notice of Case Closure and Right to Sue
DFEH Matter Number: 508398-150705
Right to Sue: Carter / Lakeisha Carter Hertz Local Edition Corp.

Dear Lakeisha Carter,

This letter informs you that the above-referenced complaint was filed with the Department of Fair

Employment and Housing (DFEH) has been closed effective March 19, 2015 because an immediate Right
to Sue notice was requested. DFEH will take no further action on the complaint.

This letter is also your Right to Sue notice, According to Government Code section 12965, subdivision
(b), a civil action may be brought under the provisions of the Fair Employment and Housing Act against
the person, employer, labor organization or employment agency named in the above-referenced
complaint. The civil action must be filed within one year from the date of this letter.

To obtain a federal Right to Sue notice, you must visit the U.S, Equal Employment Opportunity
Commission (EEOC) to file a complaint within 30 days of receipt of this DFEH Notice of Case Closure
or within 300 days of the alleged discriminatory act, whichever is earlier.

Sincerely,

Department of Fair Employment and Housing

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 29 of 32 Page ID #:39

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2 ices

PEGE ALPORNIA | Business, Consumer Services aod Housing Ag
| DEPARTMENT OF Fain EMPLOYMEN
j 2218 Kausen Drive, Suite 100 1 Elk Grove 1 CA 1 95758
800-884-1684 | TOD 800-700-2320
OR www. dfeh.ca.gav | email: contact.center@dfeh.ca.gov

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& Housinc DIRECTOR KEVIN KISH

Enclosures

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Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 30 of 32 Page ID #:40

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COMPLAINT OF EMPLOYMENT DISCRIMINATION
BEFORE THE STATE OF CALIFORNIA

DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
Under the California Fair Employment and Housing Act
(Gov. Code, § 12900 et seq.)

In the Matter of the Complaint of
Lakeisha Carter, Complainant.
2144 Bast Garvey South

West Covina California 91791

DFEH No. 508398-150705

Vs.

Lakeisha Carter Hertz Local Edition Corp.
Respondent.

2144 Rast Garvey South

West Covina, Califortiia 91791

Complainant alleges:

1. Respondent Hertz Local Edition Corp. is a Private Employer subject to suit under the California Fair
Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq,). Complainant believes respondent is
subject to the FEHA,

2. On or around March 24,. 2014, complainant alleges that respondent took the following adverse actions
against complainant: Discrimination, Harassment, Retaliation Denied a good faith interactive process,
Denied a work environment free of discrimination and/or retaliation, Denied family care or medical
leave, Denied or forced to transfer, Denied pregnancy leave, Denied reasonable accommodation,
Terminated, . Complainant believes respondent committed these actions because of their: Disability,
Engagement in Protected Activity, Family Care or Medical Leave, Medical Condition - including Cancer,
Sex - Pregnancy .

3. Complainant Lakeisha Carter resides in the City of Alhambra, State of California. If complaint includes
co-respondents please see below.

-5-

Complaint - DFEH No. 508398-150703
Date Filed: March 19, 2015

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 31 0f 32 Page ID#:41

2 Additional Complaint Details:

Ms. Korns was terminated as a result of her pregnancy and related medical issues. She
4 was hired by Hertz in August 2011, and informed her employer she was pregnant in or
around October 2013. Hertz was aware that Ms. Kons had had previous miscarriages,
5 and that her pregnancy was high-risk. Nevertheless, Hertz failed to reasonably
6 accommodate her pregnancy-relatéd medical restrictions, and failed to engage in the
interactive process during her pregnancy. Hertz forced Ms. Korns to perform duties ~
7 beyond what her medical restrictions allowed, and her pregnancy ultimately was
compromised, resulting in pre-term labor at 20 weeks on March 26, 2014, The baby
8 could not be saved, and passed away on March 28, 2014, Ms. Korns then underwent
another procedure for additional complications, and required additional time off, Again,
Hertz failed to engage in the interactive process or grant reasonable accommodations.
10 Hertz ultimately terminated Ms. Korns on December 1, 2014, despite her doctors
notifications that she should be cleared for work at the end of December. Ms. Korns had
11 been previously told by Hertz management that "We dont want pregnant employees at
our branch."

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Complaint - DFEH No. 508398-150705

Date Filed: March 19, 2015

Case 2:16-cv-02976-PA-AS Document 1-1 Filed 05/02/16 Page 32 of 32 Page ID #:42

— NO

VERIFICATION

L Patrick A. Gangitano, am the Attorney for Complainant in the above-entitled complaint. I have read. the
foregoing complaint and know the contents thereof. The same is true of my own knowledge, except as to those
matters which are therein alleged on information and belief, and as to those matters, I believe it to be true.

On March 19, 2015, I declare under penalty of perjury under the laws of the State of Califomia that the
foregoing is true and correct.

Long Beach, CA
Patrick A. Gangitano

-7-

Complaint ~ DFEH No. 508398-150705
Date Filed: March 19, 2015 .

